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1    Law Office of
     HERNANDEZ | HAMILTON | LAMOUREUX
2    The Johnson House Offices
     455 West Paseo Redondo
3    Tucson, Arizona 85701-8254
     JOSHUA F. HAMILTON (AZ 028084)
4    Email: josh@hhlaz.com
     Telephone: (520) 882-8823
5    Fax: (520) 882-8414
     Attorney for Defendant Gutfahr
6
                     IN THE UNITED STATES DISTRICT COURT
7

8                          FOR THE DISTRICT OF ARIZONA
9
     United States of America,                     No. CR24-08132-TUC-RM-(EJM)
10                      Plaintiff,
11                                                    MOTION TO CONTINUE
           vs.                                           SENTENCING
12

13   Elizabeth Gutfahr,                                Defendant out of Custody
                          Defendant.
14

15

16
           It is expected that excludable delay under Title 18, U.S.C. § 3161 (h)(1)(f),
17   will occur as a result of this motion or an order based thereupon.
18
           The defendant, Elizabeth Gutfahr, by and through counsel undersigned,
19

20   hereby moves to continue sentencing, presently set to commence on May 7, 2025.
21
           This request is made for the following reasons:
22

23      1. Counsel undersigned needs additional time to schedule and conduct the
           probation interview. In addition, once the presence report has been
24         prepared, counsel undersigned will need time to review, draft, prepare and
25         finalize any objections to said report. Lastly, counsel undersigned will need
           additional time to prepare the sentencing memorandum.
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27      2. Counsel undersigned contacted Jane Westby and Nicholas W. Cannon,
           Assistant United States Attorneys, who stated they have no objection to this
28
           request, or an order based thereupon.


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1       For the above-stated reasons, the defense asks that this Court continue this
2
     matter to any of the following dates: June 16, 2025, June 17, 2025, or June 18,
3

4    2025, if it is all possible with this Court’s calendar.     Counsel undersigned
5
     respectfully requests this Court not to schedule any future hearings for the
6

7
     following dates: June 20, 2025, through July 7, 2025, as our office will be closed

8    for summer vacation. Defendant hereby waives any applicable time limits.
9
           RESPECTFULLY SUBMITTED this 10th day of March 2025.
10

11
                                    Law Office of
12
                                    HERNANDEZ | HAMILTON | LAMOUREUX
13

14

15                                   s/Joshua F. Hamilton
16                                  JOSHUA F. HAMILTON
                                    Attorney for Defendant
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1                            CERTIFICATE OF SERVICE
2
     I, Veronica Bravo, do hereby certify that on this 10th day of March 2025, I
3
     electronically transmitted the foregoing document to the Clerk’s Office using the
4    CM/ECF System for filing, and transmittal of a Notice of Electronic Filing was
     sent to the following recipients:
5

6    Honorable Rosemary Marquez
7
     United States District Court

8    Jane L. Westby, Assistant
9    United States Attorney’s Office
10
     Nicholas W. Cannon, Assistant
11   United States Attorney’s Office
12
     Willow Stokes, Senior
13   United States Probation Office
14
     Joshua F. Hamilton
15   Attorney for Defendant Gutfahr
16
     By s/Veronica Bravo
17
       Veronica Bravo
18

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